           Case 1:11-cv-01826-UNA Document 7 Filed 04/20/12 Page 1 of 1




                 United States Court of Appeals
                            F OR T HE D ISTRICT OF C OLUMBIA C IRCUIT
                                       ____________
No. 11-7145                                                     September Term 2011
                                                                         1:11-cv-01826-UNA
                                                         Filed On: April 20, 2012
Danny Joe Hirschfield,

              Appellant

      v.

State of California and California Department
of Mental Health,

              Appellees


      BEFORE:       Sentelle, Chief Judge, and Henderson and Rogers, Circuit Judges

                                         ORDER

       The court concludes, on its own motion, that oral argument will not assist the
court in this case. Accordingly, the court will dispose of the appeal without oral
argument on the basis of the record and the presentations in the brief. See Fed. R.
App. P. 34(a)(2); D.C. Cir. Rule 34(j).

                                        Per Curiam
